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2019R01345/BJC


                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA                     :     Criminal No. 20- 448-BRM
                                             :
       v.                                    :
                                             :
SHERMAN KENNERSON                            :     18 U.S.C. § 371


                                  INFORMATION

       The defendant having waived in open court prosecution by indictment, the

United States Attorney for the District of New Jersey charges:

                  (Conspiracy to Violate the Anti-Kickback Statute)

       1.        At all times relevant to this Information:

                  The Defendant and Related Clinical Laboratories

                 a.     Defendant       SHERMAN         KENNERSON          (“defendant

KENNERSON”) was a resident of Plano, Texas, and co-owned with co-conspirator

Jeffrey Madison (“co-conspirator Madison”) and others, Metric Lab Services, LLC

(“Metric Lab”) and Spectrum Diagnostic Labs, LLC (“Spectrum Lab”) (together,

the “Labs”).

                 b.    Metric Lab was a clinical laboratory located in Mississippi that

performed genetic tests and submitted claims to Medicare.

                 c.    Spectrum Lab was a clinical laboratory located in Texas that

performed genetic tests and submitted claims to Medicare.

                 d.    The Labs were approved providers of the Medicare Program

(“Medicare”), and Medicare paid the Labs for performing genetic tests and related

services on Medicare beneficiaries who were referred to the Labs.
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